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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )               CASE NO. 8:04CR316
                                           )
              Plaintiff,                   )
                                           )                 MEMORANDUM
              vs.                          )                  AND ORDER
                                           )
GARY L. NAPIER, JR.,                       )
                                           )
              Defendant.                   )

       This matter is before the Court on the Defendant’s motion to amend the Judgment

(Filing No. 210).

       The Defendant requests that the Judgment be amended to reflect that Count V of

the Indictment, to which the Defendant pleaded guilty, relates to a handgun and not a

machine gun as stated in the Judgment. Correction of the error is proper pursuant to

Federal Rule of Criminal Procedure 36.

       IT IS ORDERED:

       1.     The Defendant’s motion to amend the Judgment (Filing No. 210) is granted;

              and

       2.     An amended Judgment will be issued correcting the error.

       DATED this 31st day of August, 2005.

                                               BY THE COURT:

                                               s/Laurie Smith Camp
                                               United States District Judge
